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                    UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA


  RICHARD GLOSSIP, et al.,
                                    Plaintiffs,

  v.                                                            No:      14-cv-665-F


  KEVIN J. GROSS, et al.,
                                    Defendants.

                NOTICE OF COMPLIANCE WITH COURT ORDER
                    REGARDING TRAINING MATERIALS

       Defendants file this notice to (1) advise the court that no materials in their possession

are responsive to any existing discovery request or required under Fed. R. Civ. P. 26(e)(1) and

(2) notify the court that they have supplied the additional training materials to Plaintiffs

notwithstanding that issue.

       Having examined Plaintiffs’ existing discovery requests, Defendants have determined

that no additional training materials created since the most recent amendment to the execution

protocol are responsive to any of Plaintiffs’ requests for production. All of Plaintiffs’ discovery

requests for training materials were exclusively for materials used in preparation for past

executions (i.e. Clayton Lockett and Charles Warner).

       Nevertheless, in the hopes of moving this litigation forward and in complying with the

spirit of this Court’s directive, Defendants hereby notify the court that they have produced

their new training materials to Plaintiffs today.
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                                             Respectfully submitted,



                                             s/ Mithun Mansinghani
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